                                                    July 27, 2022




Hon. Margo K. Brodie
United State District Judge for the Eastern
District of New York
225 Cadman Plaza East
Brooklyn, New York 11202

               Re:    Julie Goggin, et al. v. JetBlue Airways Corporation

                      Case No. 20-cv-6188 (MKB)

Dear Judge Brodie:

        We represent defendant JetBlue Airways Corporation in the captioned matter. On June 8,
2022, the Court adopted the parties’ second proposed briefing schedule for JetBlue’s anticipated
motion for summary judgment. Under that schedule, JetBlue was to serve its motion on or before
August 5, 2022, plaintiff to serve her opposition on or before September 16, 2022, and JetBlue to
serve its reply on or before September 30, 2022.
        On Monday, July 25, 2022, my wife was admitted to Cedars-Sinai Hospital, through the
emergency room, with significant difficulties with balance and walking, and some cognitive issues.
She is currently a patient at Cedars, and I have spent the past three days at the hospital unable to do
any work on the motion or on anything else. Although we hope she will be released soon, it is
difficult to say what attention she will need from me in the next few weeks. Consequently, it will be
extremely difficult, if not impossible, for me to adequately prepare JetBlue’s motion under the
current schedule.


        For the above reason, plaintiff’s counsel and I have met and conferred, and he has graciously
agreed to a further extension on the briefing schedule for JetBlue’s motion. We respectfully request
that the Court approve the following modification to the existing briefing schedule for JetBlue’s
motion for summary judgment.
Hon. Margot K. Brodie
July 27, 2022


       Defendant’s Opening Brief: September 20, 2022
       Plaintiff’s Opposition Brief: November 1, 2022
       Defendant’s Reply Brief:       November 15, 2022


        This request is not intended to delay this action or to inconvenience the Court. The parties
look forward to hearing from the Court regarding their joint request for this modification to the
briefing schedule.


                                                             Respectfully submitted,
                                                             Arthur I. Willner
                                                             Arthur I. Willner
                                                             Counsel for Defendant
                                                             JetBlue Airways Corporation
